       Case: 1:20-cv-02322-DAR Doc #: 59-1 Filed: 02/08/24 1 of 1. PageID #: 883




                          IN THE UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION


 THE NOCO COMPANY, INC.,                        ) CASE NO. 1:20-cv-02322-DAR
                                                )
                 Plaintiff,                     ) JUDGE DAVID A. RUIZ
                                                )
 vs.                                            ) [PROPOSED] ORDER
                                                )
 AUKEY TECHNOLOGY CO. LTD., et al.,             )
                                                )
                 Defendants.                    )

         [PROPOSED] ORDER GRANTING TUCKER ELLIS LLP’S UNOPPOSED
             MOTION FOR LEAVE TO WITHDRAW AS LOCAL COUNSEL


         The Court has reviewed and considered Tucker Ellis LLP’s and its attorneys of record,

Jay R. Campbell and Carter S. Ostrowski (collectively, “Tucker Ellis”), Unopposed Motion for

Leave to Withdraw as Local Counsel, and further notes that Perkins Coie LLP has retained its own

local counsel and that Plaintiff does not oppose the pending motion.

         Tucker Ellis LLP’s Unopposed Motion for Leave to Withdraw as Local Counsel is hereby

GRANTED.



         Date______________                         _______________________________




                                                3
